     Case 2:17-cv-00093-SMJ      ECF No. 39   filed 12/20/17   PageID.2317 Page 1 of 3




 1
      Clay M. Gatens, WSBA #34105                     HON. SALVADOR MENDOZA, JR.
 2    Sally F. White, WSBA #49457
 3
      Devon A. Gray, WSBA #51485
      Jeffers, Danielson, Sonn & Aylward, P.S.
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 6

 7
                               UNITED STATES DISTRICT COURT
 8
                             EASTERN DISTRICT OF WASHINGTON
 9

10
      VALERIE RHODES, a single woman, and ) NO. 2:17-CV-0093-SMJ
11    on behalf of others similarly situated, )
12                                            ) NOTICE OF SETTLEMENT
            Plaintiffs,                       )
13
                                              )
14          vs.                               )
15
                                              )
      WELLS FARGO BANK, NATIONAL              )
16
      ASSOCIATION, a National Banking         )
17    Association,                            )
                                              )
18
            Defendant.                        )
19

20    TO:             CLERK OF THE COURT
21
      AND TO:         ALL PARTIES AND THEIR COUNSEL
22

23               PLEASE TAKE NOTICE that the parties have reached a settlement through
24
      mediation and are in the process of documenting the settlement. The parties
25

26
      respectfully request that the Court strike from the calendar all scheduled hearings and

       NOTICE OF SETTLEMENT
       Page 1                                                          Jeffers, Danielson, Sonn & Aylward, P.S.
                                                                                   Attorneys at Law
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     Case 2:17-cv-00093-SMJ       ECF No. 39   filed 12/20/17   PageID.2318 Page 2 of 3




 1
      pending motions. The parties will promptly provide to the Court a proposed schedule
 2

 3
      for seeking preliminary approval of the settlement.
 4
                 DATED this 20th day of December, 2017.
 5

 6
                                        s/CLAY M. GATENS
 7
                                        CLAY M. GATENS, WSBA No. 34102
 8                                      DEVON A. GRAY, WSBA No. 51485
 9                                      JEFFERS, DANIELSON, SONN & AYLWARD, P.S.
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                                        Attorneys for Plaintiff and Proposed Class
16

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     Case 2:17-cv-00093-SMJ        ECF No. 39    filed 12/20/17   PageID.2319 Page 3 of 3




 1
                                      CERTIFICATE OF SERVICE
 2

 3
                 I hereby certify that on December 20, 2017, I electronically filed the foregoing
 4
      with the Clerk of the Court using the CM/ECF System. Notice of this filing will be
 5
      sent to the parties listed below by operation of the Court’s electronic filing system.
 6

 7    Parties may access this filing through the Court’s system.
 8
                       Rudy A. Englund:         englundr@lanepowell.com
 9
                       David C. Spellman:       spellmand@lanepowell.com
10                     Jane E. Brown:           brownje@lanepowell.com
11
                       Jennifer Sheffield:      sheffieldj@lanepowell.com
12
                 DATED at Wenatchee, Washington this 20th day of December, 2017.
13
                                          s/CLAY M. GATENS
14
                                          CLAY M. GATENS, WSBA No. 34102
15                                        Attorney for Plaintiffs
16                                        JEFFERS, DANIELSON, SONN & AYLWARD, P.S.
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